Case No. 1:23-cv-01966-SKC Document 7 filed 08/04/23 USDC Colorado pg 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 23-cv-01966-SKC

LACEY GANZY, on behalf of J.G and N.G., minor children;
JON and MISTY MARTIN, on behalf of C.M., a minor child; and
NADARIAN and ALEXIS CLARK, on behalf of D.C., a minor child,

       Plaintiff,

v.

DOUGLAS COUNTY SCHOOL DISTRICT RE-1;
BOARD OF EDUCATION for DOUGLAS COUNTY SCHOOL DISTRICT RE-1; and
JOHN VEIT, in his official and individual capacities,

      Defendants.
______________________________________________________________________________

               ENTRY OF APPEARANCE OF JONATHAN P. FERO
______________________________________________________________________________

       Jonathan P. Fero of the law firm of SEMPLE, FARRINGTON, EVERALL & CASE, P.C.,

hereby enters his appearance in this matter on behalf of Defendants Douglas County School

District RE-1, Board of Education for Douglas County School District RE-1, and John Veit.

       RESPECTFULLY SUBMITTED this 4th day of August, 2023.

                                    SEMPLE, FARRINGTON, EVERALL & CASE, P.C.

                                    By: s/ Jonathan P. Fero
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Case No. 1:23-cv-01966-SKC Document 7 filed 08/04/23 USDC Colorado pg 2 of 2




                              CERTIFICATE OF SERVICE

        I hereby certify that on the 4th day of August, 2023, a correct copy of the foregoing
ENTRY OF APPEARANCE OF JONATHAN P. FERO was filed and served via CM/ECF to
the following:

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